Case 3:10-cv-03142-TEH   Document 15-3   Filed 09/07/10   Page 1 of 2




                         Exhibit C
              -
      Case 3:10-cv-03142-TEH                      Document 15-3                  Filed 09/07/10      Page 2 of 2


                                                                                                                            I
The Making a New Reality,lnc.
Attn: Mitchell, S. Raye
1300 Clay St.
Ste 600
Oakland. CA 94612




                        Superior Court of California, County of Alameda
                        Rene C. Davidson Alameda COtmty Courthouse

                                                                                    No. RGI0495150
                                       PlaintiIT/Petitioner( 5)

                            vs.                                      un Judgment for restitution of premises only,
                                                                             Pursuant to Section 1169 CCP
                        Juarez
                                   DefendantIRespomlent(     s)
                    Abbreviated   Title

The plaintiff{s) request that judgment for restitution of premises only be entered
 against the defendant(s) hereinafter named:
    MarioJu~ez Assignee and Holdover Tenant Under Fireside                                California     Group,      Inc.
    Fireside California Group,Inc.
Said defendant(s) having been served with summons and copy of complaint, and having
failed to appear and answer the complaint within the time allowed by law, and default of
said defendant(s) having been entered at the request ofplaintiff{s):
    Boyd Real Property
Judgment for restitution of premises only is hereby entered and that plaintiff{s)
recover from defendant(s):
   Mario JuarezAssignee and Holdover Tenant Under Fireside                                California     Group.      Inc.
    Fireside California Group,Inc.

the restitution and possession of the premises
situated in Oakland, County of Alameda, State of California, described as follows:

      4030A International Blvd.,


Include all other persons in possession including tenants, subtenants, named
claimants and other occupants pursuant to 415.46 CCP.
And the lease or agreement under which said defendant(s) holds said premises is
declared forfeited.

     This judgment was entered on            02/05/2010

                            Executive Officer 1 Clerk of the Superior Court
                      I>~


     By      ~~
                                                                  Deputy Clerk
